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AO 245B (CASDRev. 08113) Judgment in a Criminal Case                                                            F~LED
                                                                                                                JUL I) 1 2016
                                      UNITED STATES DISTRICT Co                                     T
                                         SOUTHERN DISTRICT OF CALIFORNIA                              CLERK, U.S. DISTRICT COURT
                                                                                                  I ::;CUTHERN DISTRICT OF CAt.:!,::,::.~<::~:~\~ :
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRlMlNAL-CASE--·-----'::0:.:'::..'·\·:
                                 V.                                 (For Offenses Committed On or After November I, 1987)
                   RODOLFO MORA (1)
                                                                       Case Number:         16CR0542-CAB

                                                                    DOUGLAS C. BROWN
                                                                    Defendant's Attorney
REGISTRATION NO.                 52211298
D-
THE DEFENDANT:
[gJ pleaded guilty to count(s)         ONE (1) OF THE ONE-COUNT INFORMATION

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                   Nature of Offense                                                                      Number(s)
8 USC 1324(a)(1 )(A)(ii),         CONSPIRACY TO TRANSPORT CERTAIN ALIENS FOR                                                I
(v)(I) and 1324(a)(1)(B)(i)       FINANCIAL GAIN




    The defendant is sentenced as provided in pages 2 through                 4            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D The defendaot has been found not guilty on count(s)
D Count(s)                                                    is          dismissed on the motion of the United States.
                ---------------------
      Assessment: $100.00
[gJ



[gJ   No fine                 D Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    Jul



                                                                    HON. CATHY ANN BENCIVENGO
                                                                    UNITED STATES DISTRICT JUDGE



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DEFENDANT:                RODOLFO MORA (1)                                                        Judgment - Page 2 of 4
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                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
24 MONTHS.




D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZl   The court makes the following recommendations to the Bureau of Prisons:
      ANY DRUG COUNSELING AVAILABLE and PLACEMENT IN WESTERN REGION
      (CALIFORNIA) TO FACILITATE FAMILY VISITATION.




D     The defendant is remanded to the custody of the United States Marshal.

D     The defendant shall surrender to the United States Marshal for this district:
      D     at _ _ _ _ _ _ _ _ A.M.                          on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      D     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
      Prisons:
      D     on or before
      D     as notified by the United States Marshal.
      D     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on                                            to _ _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                   By                     DEPUTY UNITED STATES MARSHAL




                                                                                                       l6CR0542-CAB
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          DEFENDANT:                   RODOLFO MORA (1)                                                                            Judgment - Page 3 of 4
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                                                              SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of:
    THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
    For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisomnent and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
               The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
    o          substance abuse. (Check, if applicable.)
    IZl        The defendant shall not possess a flfearm, ammunition, destructive device, or any other dangerous weapon.
               The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    IZl
               Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
               The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
    o          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
               resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
    o          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

               Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
          such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
          of Payments set forth in this judgment.
               The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
           with any special conditions imposed.
                                             STANDARD CONDITIONS OF SUPERVISION
          1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
          2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
          3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)  the defendant shall support his or her dependents and meet other family responsibilities;
          5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
              reasons;
          6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
          7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
              any paraphernalia related to any controlled substances, except as prescribed by a physician;
          8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
          9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
              unless granted permission to do so by the probation officer;
          10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
              observed in plain view of the probation officer;
          11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
          12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
              the court; and
          13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
              personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
              with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall wam any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information
        between the probation officer and the treatment provider. May be required to contribute to the costs of
        services rendered in an amount to be determined by the probation officer, based on ability to pay.

     4. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period up to 90
        days (non-punitive).




II




                                                                                                 16CR0542-CAB
